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IN THE UNITED STATES DISTRICT COURT 4 On_
NORTHERN DISTRICT OF ILLINOIS AY 29 2024 j ‘

EASTERN DIVISION
THOMAS G.BRUTON 7~
CLERK, U.S. DISTRICT C
DIANE FIELD , an Individual with disabilities, ) OURT

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Plaintiff, )
)  4:24-cvy-04383
ve , Judge Robert W. Gettleman
Magistrate Judge M. David Wei
ROOSEVELT UNIVERSITY, ) RANDOM ; coe David Weisman
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& ) BE
)
ROOSEVELT ADJUNCT FACULTY, )
ORGANIZATION )
)
Defendants. ) JURY DEMAND
COMPLAINT

NOW COMES PLAINTIFF DIANE FIELD (“Plaintiff” or “Diane”), an individual with
multiple disabilities, for her Complaint against DEFENDANT ROOSEVELT UNIVERSITY
BOARD OF TRUSTEES ("RU"), and the DEFENDANT ROOSEVELT ADJUNCT
FACULTY ORGANIZATION (“RAFO”), states as follows:

1. INTRODUCTION
1. Diane is a disabled, low-income person who grew up in Lemont, Illinois, where she still
lives with her service animal, Ada, in an old, former parish house across the street from her long-

time church, St. Alphonsus.

2. Diane receives Social Security Disability Insurance (“SSDI”) and lives on a limited

budget that she closely monitors and follows.
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3. Diane also has a Section 8 Voucher from the U.S. Dept. of Housing which helps pay for
her home mortgage, but she still needs some additional income to make those payments each

month and to repair & maintain her old house.

4, Diane has received tuition assistance as a student and employment assistance from the
Illinois Dept. of Rehabilitative Services (“DRS”) Division of Rehabilitative Blind Services due
to her disabilities, including her vision-based communication deficits, while she works and

attempts to improve her professional skills.

5. Diane wants to work and apply her graduate degree in math, and she works as a part-time
adjunct Math Instructor at Roosevelt University in downtown Chicago, Illinois to which she

commutes from the Metra Station near her home.

6. Diane works whenever RU gives her job offers before each semester that seem

manageable to her, and if so, she accepts teaching one or more math courses.

7. Diane has earned a Masters in Actuarial Science, but she has endured a great deal of
discrimination due to her disabilities and her advocacy for herself and her students with
disabilities when she attempts to work, improve her professional skills as a student, and better

herself financially.

8. Diane as an RU instructor and student has endured discriminatory preferences & denials;
repeated denials of needed accommodations, restriction of training & development opportunities,
occupational segregation, harassment, discriminatory interference with the exercise of her
disability rights, and retaliation for her advocacy for herself and for her learning-disabled

students.
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9. RU has done these things with deliberate indifference, reckless indifference, or malice,

and these things have harmed Diane.

10. At times, RAFO has aided and abetted RU in some of these actions and omissions, and it

has done so with at least deliberate or reckless indifference.

11. Diane requests legal and equitable relief including declaratory & injunctive relief, and
compensatory & punitive damages to the extent allowed by law to address and prevent these
harms in her further employment and studies at RU, to make her whole, and to vindicate the
public interest as Congress has legislated that it is the policy of the Nation to eliminate

discrimination against those with disabilities and their advocates.

12. This action is also brought to recover costs, including reasonable attorneys’ fees, but that
cost recovery is deferred until it may be ripe and judgment on the merits and/or appeal is
finalized for each cause herein.
13. These allegations are in part based upon specific, enumerated legal rights, including: a.)
the mandated provision of Auxiliary Aids & Services for those with communication deficits
under ADA; b.) electronic communication accessibility mandates; and, c.) other specific
postsecondary regulations.

I. JURISDICTION & VENUE
14. The Court has jurisdiction over this cause of action as a federal question per 28 U.S.C. §
1331 and as supplemental jurisdiction arising from causes of action that are part of the same case
or controversy per 28 U.S.C. § 1367. Declaratory & injunctive relief is authorized be 28 U.S.C.
2201 and 2202, and Rule 57 FRCP, and injunctive relief is specifically authorized under ADA

Title II.
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15. Venue is proper in this Court because the acts complained of occurred, and the parties
reside and do business, in the Northern District of Illinois.

Ill. PARTIES
Plaintiff Diane Field
16. At all times pertinent, Diane has been an individual with disabilities including, but not
limited to, a vision-based communication deficit, learning disabilities, sensory integration
disorder, and anxiety disorder.
17. Within the last several years, Diane has been diagnosed with autism.
18. Diane’s disabilities create substantial limitations in her major life activities including,
inter alia, seeing, learning, communicating, socializing, and orienting herself spatially when
standing and moving.
19. At all times pertinent, Diane has shared these disabilities, and the substantial limitations
in major life activities they have caused her to experience, with others, including RU & RAFO.
20. Diane has provided much of the documentation of her evaluations and diagnoses to RU
that provides a record of her disabilities.
21. Diane is considered disabled by RU, RAFO, fellow students, and instructors.
22. Since first hired, Diane has been considered an employee by RU whether or not she is
teaching a course each semester.
23. Atall times pertinent, Diane as an employee and as a student has been an otherwise
qualified individual with a disability who can perform and has proven she can perform the
essential functions of her job with or without accommodations.

24. Some of the time, Diane has been an actively enrolled math student at RU.
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25.  Atall times pertinent, Diane as a student has also been an otherwise qualified individual
with a disability who has proven herself to be academically and technically qualified with or
without accommodations.

26. Diane checks the RU course-finder every upcoming semester for possible advanced math
courses to take at RU.

27. Diane often struggles to find a proper advanced math course at RU, but when she finds
one, she then enrolls as a student if she can fit it into her busy schedule for therapy, professional
training, course teaching preparation, work, & commuting.

Defendant Roosevelt University

28. Defendant RU is private university providing public accommodations in Chicago, Illinois
which accepts federal & state funds.

29. Defendant RU is a postsecondary educational institution that is a place of public
accommodation under ADA and the Illinois Human Relations Act (“THRA”) (775 ILCS 5/5-
101(A)(11)).

30. | Defendant RU employs approximately 500 employees, including Diane as a part-time
Adjunct Math Instructor.

31. Defendant RU is a covered entity under the ADA Title 1 & Ill, the Rehabilitation Act ,
and the THRA.

Defendant Roosevelt Adjunct Faculty Organization

32. Defendant RAFO is a private sector union representing adjunct faculty, both part-time &
full-time, at RU.

33. | RAFO is covered by ADA Title I & III, the Rehabilitation Act, and the IHRA.
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34.  Atall times pertinent, Defendant RU has had a contract with the Roosevelt Adjunct
Faculty Organization (“RAFO”) that represents RU adjunct faculty members.
35.  Atall times pertinent, Diane has been a RAFO member in good standing.

Iv. FACTS
36. | About 2010, Diane earned a Masters Degree in Actuarial Science from RU, in spite of her
own learning disabilities,
37. Diane has intermittently re-registered for previously completed actuarial coursework as
preparation for gaining professional certification from the Society of Actuaries (“SOA”) so as to
qualify for a well-paid job as a professional Actuary.
38. While attending RU, Diane successfully assisted other RU students, with their math
studies as a volunteer tutor without any request, formal permission, or support from RU.
RU Recruited Diane because She is a Superior Math Teacher
39. After this continued for some time and her frequent success and contributor as a
volunteer tutor became readily evident to the RU math faculty, RU hired her a part-time math
teacher.
40. Around August of 2010, RU’s initial job offer to Diane was for her to teach RU’s
remedial course(s) in math to assist students in learning enough basic math to qualify to take, and
to succeed in passing, college level math courses at RU. Thereafter, RU has offered Diane
courses to teach in such remedial math courses in many, if not all, semesters since then.
41. This repeated offer and Diane’s willingness to teach has had the effect of relieving most
of the other math faculty from having to teach basic math to those who often have severe
learning disabilities.

Diane Has Non-Obvious Disabilities
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42. To the casual observer, many of Diane’s disabilities are not obvious, but when Ada, her
service animal, is working beside her with a vest that states in large letters “Service Dog,” at
least others can tell she has some type of disability.

43. It usually takes time for others to recognize Diane’s substantial limitations in major life
activities due to her disabilities and adjust their demands on her accordingly.

44. _ Diane readily volunteers an explanation of her non-obvious disabilities if she knows it is
relevant to her interactions with those she meets.

45. Diane does this frequently because others commonly expect more communication from
her than she can verbally and timely produce during a typical conversation.

46. At all times pertinent in her roles as employee and student, Diane has explained and
documented her multiple disabilities to RU.

Diane's Needs & Substantial Limitations

47.  Atall times pertinent, Diane has informed RU and its agents of her substantial limitations
in using the RU websites and internal email systems for long periods of time, and the pain it
causes her when she is required to do so.

48. | When teaching, Diane’s vision-based communication deficits causes her to expend a
large amount of physical & mental energy, especially in teaching those with severe learning
differences and a history of previously deficient schooling in math.

49. __ In order to teach math effectively, Diane requires, among other things, an appropriately lit
classroom, a nearby respite area, and an uncrowded corridor or stairway connecting them by
which she can quietly walk undisturbed to recover physically & emotionally after teaching.

50. Each math class lasts at least an hour, and Diane may have to teach a second class

immediately after the first.
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51. Diane teaches after she endures a sensory grueling commute that takes her an hour and a
half from Lemont, IL to the University.

52. When these accommodations are altered or removed, Diane becomes neurologically
dysregulated and begins involuntarily crying from the pain of the auditory overload, and she
intermittently loses the ability to use expressive language.

53. | Consequently, on such occasions, she cannot respond appropriately as an instructor in
front of her students or when traveling through the busy RU hallways and stairways.

54. This crying from the pain of the dysregulation and intermittent loss of expressive
language at these times causes her public embarrassment, loss of dignity, limits her effectiveness
as an instructor, and causes her to risk physical injury, as shown by her recent accident resulting
in a broken hand (see below).

55. Diane’s recovery time is not linearly related to the exposure time of the stimuli leading to
the dysregulation. Recovery time can become exponentially longer, even taking days at times,
especially if she must travel through a congested and brightly fluorescent lit hallway to obtain
respite.

56. If her travel time from her classroom to her respite area doubles, her recovery time can
more than quadruple.

Initially Work Stations Concession Granted for Diane, then Denied When Requested Again
57. For some time, RU had assigned Diane to teach her course in a particular classroom,
AUD406.

58. Diane requested use of a nearby office, AUD402, only 30 feet away for use as a respite

area, and RU granted this as a concession to Diane.
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59. The current situation in 2024 requires Diane to walk the entire length of the fluorescent
lit hallway to the other busy end of that hallway to AUD 420, a distance of over 130 feet away
from her respite area in AUD402.

60. |AUD420 is right where the main stairwell, main elevator, and main adjacent corridor all
converge.

61. | RU has reason to know that this scenario is the exact opposite of what Diane’s clinicians
have documented as required; and Diane has placed such documentation on file officially with
RU. HR used this documentation as a basis for placing Diane in AUD406 in 2022.

62. Moreover, Diane has consistently provided such documentation to RU ever since RU
claimed that it had lost Diane’s accommodations records from when Diane was a student at RU
from 2006 to 2010.

63.  Diane’s current classroom in 2024, AUD 420, is not appropriate for a person with autism
and vision-based communication deficits as the fluorescent lighting in the corridor to AUD402 is
debilitating.

64. Moreover, as a corner classroom, AUD420 has an additional wall of windows that
increases the noise from alarms and sirens on Michigan Avenue below.

65. Piercing sirens neurologically dysregulate and cause intermittent loss of expressive
language, thus accelerating Diane’s need for respite.

66. | The much-needed respite area is also for her service animal to provide proper aid to

Diane.
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67. That respite area is now too far away for her to properly access without causing Diane
more physical & emotional stress and increasing her recovery time. See future Exhibit.

68. This distance of Diane’s teaching classroom from her respite area, and the stress it can
cause if it is too distant, makes it very difficult for Diane to navigate the busy hallway between
them, or to ensure her psychological well-being and personal safety during and after her travel.
69. | Acrowded hallway and fluorescent lights prevent Diane from successfully maneuvering
the hallway, resulting in her language being compromised so that no one knows how to help her
while she is involuntarily crying from the psychological stress.

70. | Barb Anderson, Head Instruction/Learn Librarian, acted on behalf of Diane and asked for
AUD411 as respite area from Diane’s Dean, Kelly Wentz-Hunter, but the request was denied.
71. | When Diane was a student, the disabilities office was able to request AUD411 for Diane
to use to take tests and the request was granted every time it was requested during all of 2006
through 2010.

72. Diane used an advocate to request her accommodations whenever she could not make a
cogent request by herself due to Diane having autism and needing assistance in such matters.
Inadequate Recovery Causes Risk of Physical Injury

73. Failing to recover completely creates substantial risk which can physically endanger
Diane during her substantial commute, even though this is not readily obvious to others.

74. Recently, Diane was in AUD420 for 2.5 hours to teach two back-to-back classes.

' Ms. Field has many documents corroborating her allegations in this Complaint. However, due
to her vison deficiencies, autism, and repeated discrimination by her employer, she has difficulty
finding those documents. She notes here the existence of certain exhibits for the record. Ms.
Field respectfully requests the Court to direct any appointed attorney to assist her in locating
these and other relevant records for proper use in this case. An example of identifiable
documents that here should be Exhibit | is a pair of documents from Marshall and Shaw dated
03/07/24 and 02/21/24 that detail concerns from Diane's professionals and their reasoning for
respite area needing to be close to her teaching classroom.

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75. During this period of time, the sirens were loud from the street below and the fluorescent
lighting was causing her dysregulation and stress.

76. Diane was unable to get the full respite needed to recover between classes, but Diane
went to AUD402 to get brief respite after the 2" class and then she walked to Union Station to
catch the train to Lemont, which is a limited-service train line.

77. At Union Station, Diane had an episode where she couldn’t talk and almost fainted due to
lack of respite from classes.

78. Diane had to hail a train conductor and a passenger for help because of her limited ability
to speak; and fortunately, they responded and walked Diane to the train and assisted with her
service animal, Ada.

79. Once Diane got home, she was still dysregulated and unable to properly handle her dog
on its leash, ultimately resulting in Diane breaking her hand.

80. This type of accident never occurred when Diane was scheduled in AUD406 to teach and
allowed the proximity of respite area AUD402, only 30 feet away and within a secluded corridor
and the other end of the hallway, away from the main convergence in front of AUD420.

81. Diane’s mental recovery took days due to the overwhelming situation, and the physical
recovery includes time off for her broken hand to mend; all of this could have been avoided with
continued concessions of AUD406 and the close respite area of AUD402.

82. _ Ironically, once Diane showed Math Dept. Chair Melanie Pivarski that she had a broken
hand, RU only then provided Diane the grading assistance needed, and the ability to hold her
courses over Zoom, but this was not provided when Diane was at risk of physical injury but not

yet visibly harmed, as explained below.

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83. RU is directly responsible for this foreseeable harm to Diane by denial of the effective
accommodation she had previously been granted as a concession by RU.

Diane Needs Auxiliary Aids & Services

84. _ Diane as an instructor requires auxiliary aids & services to communicate effectively with
her students, including when accessing RU websites & internal email systems.

85. Diane also needs auxiliary aids & services when she is shopping for, applying for, and
working on RU courses as a student or prospective student.

RU Website & Email Inaccessible to Diane

86. Yet, when Diane is an RU Student or when she is shopping for an advanced math course
as a prospective student, she is required to use the RU websites and RU email system as part of
her shopping, course application, and course work for her educational program.

87. | When Diane is working at RU, she is also required to use the RU websites and internal
email system.

88. | However, Diane has to struggle to use the RU websites and email system due to her
substantial limitations, in part caused by her vision-based communication deficits.

Illinois Assistive Technology Program Evaluation

89.  Diane’s web accessibility was evaluated by Jessica Shyler, who is the Illinois Assistive
Technology (“IL AT”) Program Evaluator assigned to her from the DRS, Div. of Rehab. Blind
Services. Exhibit XXX.

90. Ms. Shyler analyzed Diane’s other evaluation reports & interviewed her.

91. Ms. Shyler also analyzed the RU websites that Diane must access for her job at RU as a

math instructor.

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92. When Diane is an enrolled student or a prospective student shopping for advanced math
courses she might take, she must access many of these same RU websites that she must access
for her job.

93. Ms. Shyler determined that Diane needs many things to access websites and interact with
them effectively. See future Exhibit.

94. Ms. Shyler also determined that there is a very heavy and distracting cognitive “load” on
the RU website visually because of the numerous changing video clips it plays in the foreground.
Id.

95. | Whenever the website is updated, Diane needs to be re-trained, as stated in Shyler’s
documentation.

96. Immediately after Diane first obtained a copy, she gave RU a copy of this IL AT
Evaluation. See future Exhibit.

RU Requires Training on Blackboard via its digital newsletter, Inside Roosevelt

97. RU provides training on its website which Diane cannot utilize because of its digital
inaccessibility.

98. One such training program is regarding Blackboard, a program application that RU
requires Diane to use to grade papers & homework and to report grades to RU.

99. _ Blackboard training is scheduled and announced through Inside Roosevelt, a digital
newsletter emailed to the Roosevelt community, including Diane.

100. This emailed digital newsletter has the technology assistance hours embedded within it,
but there are multiple steps Diane must memorize to be able to find the dates and times available
to check if these dates correspond with her availability.

Diane's Email Overload & Her Three Hour Computer Use Prescription

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101. Diane’s email inbox usually contains numerous emails from students, and the RU emails
include Inside Roosevelt, the content of which contains announcements; emails from colleagues,
emails from students, emails from administrators, and authorized emails from RAFO, her union.
102. Any RU email, including those within the Inside Roosevelt digital newsletter, becomes
daunting to find among those emails when Diane receives them as a person with autism
experiencing the need for executive functioning accommodations as recommended by the Job
Accommodations Network (“JAN”), another State assistance organization.

103. This multistep embeddedness makes it hard to locate & access on Diane’s computer
screen due to her vision impairment.

104. This also makes it difficult to find the right email at any point in the three hour window
of daily computer use allowed by the written order of Diane’s doctor, as Diane has explained to
pertinent staff at RU. See future Exhibit.

105. As the intended email announcement recipient, Diane must go through the very busy RU
website to identify the Faculty tab, which is difficult visually for her.

106. Next, Diane must search the Faculty tab to find the Email tab & click on it; then once
inside the emails, Diane must locate the Inside Roosevelt newsletter by scrolling though each
email as the Inside Roosevelt editions is scattered throughout all the emails in Diane’s inbox.
107. The only way to locate the correct one for which she is searching is by opening each one
and scrolling through it to identify any pertinent Announcement.

108. Diane must identify the correct email and click on it to access and read it.

109. These multiple step procedures become visually exhausting for Diane who had asked
Susan Lamparter for the simple accommodation of a phone call when she was first diagnosed

and which Susan granted as a concession to Diane.

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110. HR later breached that agreement because it didn’t come through HR.

111. HR instead insisted Diane’s Dept. Chair be the one to help Diane with Blackboard.

112. This additional requirement was unnecessary.

113. Moreover, this additional requirement put more work on Melanie Pivarski, who makes
the job offers.

114. This additional requirement created a disincentive for Melanie Pivarski to give Diane
any job offers for advanced math course teaching, since the developmental (basic math) courses
do not involve the use of Blackboard.

115. This digital inaccessibility reduced the benefit Diane derives from the digital resources of
RU because it requires much greater effort for her than for the nondisabled teachers at RU who
are better able to navigate the RU website & emails for work and derive more benefit from RU’s
digital services.

116. Spending time searching through emails for an announcement also subtracts from the
time Diane could spend grading papers & interacting with students to answer their questions
about their school work.

RU Discriminatory Preference for Non-Disabled Teachers in Job Offers & Hiring

117. RU’s union contract with RAFO does not restrict RU’s discretion before each semester in
offering part-time adjunct faculty opportunities to teach math courses.

118. RU has used this discretionary ability to give preference to non-disabled teachers over
Diane as a person with disabilities through selective, discriminatory criteria or administrative
methods, or synergistically when some of these individual criteria and/or methods are combined

together.

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119. This includes, but is not limited to, using arbitrary reasons for new hiring of nondisabled
teachers to teach courses that Diane is qualified to teach or could readily become so with access
to training.

Direct Denials of Diane's Requests to Teach MATH 110 Show Discriminatory Hiring

120. Diane has asked to teach MATH 110, a college credit course, many times.

121. Recently, Diane again asked her Math Dept. Chair, Melanie Pivarski, if she could teach
MATH.

122. Melanie Pivarski told Diane “No,” and then told her that there was no way to configure
all of the student computers with all of the software that IATP recommended for Diane.

123. Ofcourse, the IATP had only recommended software for Diane’s computer, not that on
other students’ computer.

124. This was an example of the RU preference for non-disabled teachers over Diane as a
teacher with a disability.

125. In this case, a false equivalence between Diane's computer needs and that of others was
used to justify a preference for non-disabled teachers and exaggerate the content of Diane’s
accommodation request to teach the proposed course.

126. As is typical at RU, no one at RU provided a contemporaneous, written statement
explaining the reasons for the denial of the accommodation request perceived by RU.

127. No effective alternative accommodation was offered to Diane.

128. By this, RU showed deliberate indifference, gross misjudgment, or reckless indifference

in its actions.

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129. This was also an example of use of discriminatory criteria and methods of administration
in that RU arbitrarily inflated the cost and administrative burdens of providing the
accommodation Diane would actually need.

RU Denied Diane the Use of a Grader

130. Then Diane spoke with her RAFO Grievance Chair about requesting a grader.

131. Melanie Pivarski responded that Diane needed to do the grading because of the “nature of
the course,” referring to MATH 110.

132. Then Diane suggested that she could print the assignments, grade them offline, and then
uploading the graded papers to Blackboard for return to the students.

133. Diane told Melanie Pivarski that DRS already provided Diane with a commercial grade
printer for this work. See future Exhibit.

134. Melanie Pivarski sent Diane an email on or around October 2022 stating that Diane was
“not a good fit for MATH110.” See future Exhibit.

135. Melanie Pivarski only offers Diane low level, noncredit course because she thinks it’s
“the right thing to do.”

136. In fact, when DRS spoke with HR, an HR employee told DRS that “Diane is a wonderful
employee.”

137. This overprotective procedure is unwanted and interferes with Diane’s job opportunities,
and it masks a discriminatory preference that harms Diane’s employment opportunities.

138. Melanie Pivarski hired another adjunct faculty to teach course MATH 110, instead of
allowing Diane to bid on the course since Diane has a Level 4 seniority which qualifies her to

teach MATH 110.

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139. At no time did RU provide a contemporaneous, written statement of the reasons for
denial beyond these facts, resulting in no effective accommodations for Diane.

140. RU’s failure to provide this statement also showed bad faith.

141. RU has harmed Diane by using discriminatory preferences and denying her training that
would contribute to her professional advancement.

RU Denied Many of Diane's Requests for Accommodations

142. RU has effectively denied Diane’s requests for accommodations in many ways, and they
resulted in no effective accommodations for Diane.

143. At times, RU has ignored Diane’s requests for accommodations.

144. Attimes, RU has outright denied Diane’s requests for accommodations.

145. Frequently, RU has delayed in responding to Diane’s requests for accommodations
beyond the time in which RU knew each was needed.

146. Attimes, RU has expressed false or baseless excuses on why Diane’s requests for
accommodations are being denied.

147. On information and belief, RU denials of Dianes’ requests for accommodations are made
without RU conducting a diligent assessment of the substantial limitations due to Diane’s
disabilities and of the program or policy pertinent to each request.

148. Diane has never seen or heard of any evidence of such diligent assessment.

149. Most of the time, RU has failed to offer an effective alternative accommodation or
provide Diane with a contemporaneous, written explanation of its denial.

150. Atall times pertinent, Diane has requested accommodations from RU when needed and
participated in the required interactive process in good faith, but that has usually not resulted in

effective accommodations for her as a student, prospective student, or as an employee.

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Requests for Blackboard Training Denied & Only an Ineffective Alternative Provided

151. Diane explained her vision impairment to Susan Lamparter, the RU Blackboard Trainer.
Diane verbally requested verbal 1:1 Training. See future Exhibit.

152. RU’s HR ultimately denied Diane’s request via an email to Susan Lamparter with
notification to Diane’s Union. See future Exhibit.

153. Other RU staff have direct access to Blackboard Trainer. HR purposely discriminated
against Diane in this instance.

154. Diane’s union did not support Diane in this case.

155. The HR response offered an alternative: that Diane’s Dept. Chair, Melanie Pivarski, was
available for training instead.

156. However, this would be ineffective because Melanie Pivarski has been too busy to be
available for the training session as she has been unavailable for training Diane when it would be
for as little as one hour in the past.

157. Further, burdening Diane’s Dept Chair every time she needs training will decrease her
incentive to offer Diane a job rather than offer it to a colleague who can utilize Blackboard
Training on their own.

158. This has the effect of making the proposed alternative training less effective for Diane
and disadvantaging her as an individual with disabilities relative to nondisabled instructors who
Diane’s competes with to get job offers.

Diane's Supervisor Blocked the Alternative Accommodation from Implementation

159. Further, when Diane asked Melanie Pivarski for this alternative Blackboard training, she
blocked Diane’s accommodation by telling her that Diane “didn’t need the Blackboard training”

that she was requesting. See future Exhibit.

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160. This was an effective denial of Diane’s accommodation request by her Supervisor,
Melanie Pivarski, and it resulted in no effective accommodation for Diane.

161. Atno time did RU provide a contemporary written statement as to the reasons that
Diane’s preferred accommodation was denied, why her evaluations was incorrect regarding her
needs, or why the alternative accommodation offered by HR was blocked from being
implemented.

162. Asaresult, Diane was effectively denied access to a Blackboard trainer and Diane was
limited to training by Diane’s Math Department Chair Pivarsky who effectively denied Diane
any training.

163. These acts or omissions caused Diane harm.

RU Used RAFO to Aid & Abet in Discrimination against Diane

164. Diane was forced to talk to Math Dept Chair about offers for teaching classes.

165. Diane was unable to talk to HR about accommodations necessary to properly analyze a
job offer.

166. This makes it impossible to properly commit to accepting an offer without understanding
if she will have the tools to properly teach.

167. Diane’s Union asked Dept Chair for a meeting amongst all three parties.

168. Jill Chapman, Asst HR Director, denied Diane access to her union representative, Jennifer
Wilson, who had arranged a meeting with Diane’s Dept Chair to ask what qualifications she
needed to teach MATH 110 by requesting Wilson to cancel the meeting, which she did.

169. By canceling the meeting, Jennifer Wilson aided and abetted the discriminatory acts and

omissions of Chapman and HR against Diane.

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170. Jennifer Wilson of Union did this with deliberate indifference or reckless indifference
toward Diane.

171. Diane asked Jennifer Wilson to meet with private ADA coordinator Jana Burke and Equip
for Equality employment attorney Hannah Walsch, who also performs the role of Diane’s Client
Assistance Program (“CAPS”) representative with Division of Rehabilitative Services (“DRS”).
172. Wilson agreed.

173. The meeting was called for these two specialists to educate Wilson regarding lengthy
delays HR was taking during the interactive process.

174. At end of meeting, Hannah Walsch asked Diane if there was anything else.

175. Diane asked Jennifer Wilson to please speak to Jill Chapman of HR to stop
discriminating against her.

176. Wilson replied “No, I have a contract to negotiate with her.”

177. Wilson and other Union stewards denied Wilson’s reply to Diane.

178. This essentially left Diane without union protection and advocacy for reasonable
accommodation requests, leaving the unreasonable expectation for Diane to commit to a job
offer without being able to discuss reasonable accommodations first.

179. This limited Diane’s job opportunities, her income, and otherwise harmed Diane.

Diane Requested Training, but It was Inaccessible

180. During the Fall of 2022, Diane requested EXCEL Training from Toyia Stewart, Director
of HR.

181. Diane’s request was not accommodated. See future Exhibit.

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182. Dawn Teft from IEA became involved after Diane found them on her own accord after
asking Jennifer Wilson repeatedly for access to an attorney, believing her rights had been
violated.

183. RAFO paid for Diane to obtain ADA coordinator certification.

184. Thereafter, RU failed to offer an effective alternative accommodation or provide Diane
with a contemporaneous, written explanation of its denial, other than Jennifer Wilson’s verbal
reasoning at the end of an alternative meeting that took place during the time of the canceled
initial meeting between Diane, Jennifer Wilson and Diane’s dept chair, Melanie Pivarski.

185. The alternative meeting was called by Diane to educate Jennifer Wilson regarding the
ADA rights from the coordinator training Jana burke, an independent ADA accommodations
expert and instructor through the Missouri certification program and Hannah Walsch, an
employment attorney at Equip for Equality.

Diane's Requests for Assistance for Her Students with Disabilities

186. Since Diane had to struggle to obtain her Masters in Actuarial Science, she empathized
with her students with learning disabilities who struggled like she did to learn math.

187. Itis Diane’s habit & routine to advocate for her disabled students who need auxiliary aids
& services or other accommodations to learn effectively, and to advocate for herself where Diane
needs accommodations to teach them effectively.

188. Diane knew that if she didn’t advocate for her students with disabilities that they
wouldn’t do so for themselves.

189. In Fall semester of 2022, Diane began to advocate for one of her students, “Student E.,”
who has severe communication problems and presented on the Autism Spectrum in her math

class, MATH 010.

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190. MATH 010 is a remedial skill support class to prepare students to take the more advanced
MATH 110.

191. Diane worked to get Student E. to do written math problems in her class, even though no
other faculty had been successful it doing this; however, she succeeded. See future Exhibit.
Student E. Practice Test No.1.

192. Diane saw that Student E. was having difficulty engaging in class due to his apparent
autism and other communication deficits.

193. Using guidance and training previously received, Diane requested assistance from
Student Disability Center for communication accommodations for Student E due to his autism
and other communications. See future Exhibit.

194. Diane’s request was denied stating the student had to ask directly for accommodations,
despite Student E’s inability to request such accommodation. See future Exhibit.

195. Thereafter, RU failed to offer an effective alternative accommodation for Student E or
provide Diane with a contemporaneous, written explanation of its denial.

196. By denying these accommodations, the Defendants knew or had reason to know that she
was engaged in, or aided or encouraged others in, the exercise or enjoyment of ADA, 504 &

IHRA protected rights.

Job Coach & Diane's Requests as a Teacher
197. Several months ago, Diane requested a job coach to assist her when she teaches class

198. RU initially denied an accommodation of a job coach.

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199. The Job Accommodations Network (“JAN”) Autism Specialist Melanie Whetzel said to
DRS that the Job Coach could stand next to Diane when she needed to express her
needs/accommodations to HR.

200. Based on the recommendation of JAN, DRS provided funding for Job Coach.

201. RU must provide accommodation when a reliable and independent third party determines
it is necessary, or explain in writing why not, yet they did not adhere to this standard.

202. Asan alternative, Union approved Cicero Brooks to perform as a substitute job coach.
See future Exhibit

203. HR stalled to fill the actual role HR denied allowing Diane to work with Cicero.

204. HR told Cicero Brooks he was too busy to take on these tasks.

205. Another colleague offered to fill this role for 2024 Spring Semester and HR denied this as
well.

206. HR made Diane wait until midterms and after a doctor requested HR reinstate this former
concession.

207. RU delayed in granting this request, despite the job coach being provided and funded by
a different organization, DRS.

208. The EEOC had to get involved for resolution due to RU’s intentional thwarting and
frustrating completion of the job coach accommodation.

209. RU’s delay in granting this request limited Diane’s ability to perform the essential
functions of her job and prevented her from effectively negotiating with HR regarding
accommodations for upcoming semester (Spring 2024).

210. RU’s delay caused Diane increased frustration and harm.

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211. RU’s delay also had the effect of adversely changing Diane’s job conditions relative to
other Faculty members, and harmed her.

212. The lack of help led to the broken hand and incident at Union Station because Diane was
overwhelmed by tasks for work plus environment and did not have assistance needed.

213. The current staff person selected by RU does not seem to be available during one of
Diane's two class days. At best this is a half job coach/tutor with limited assistance.

Diane's Requests as a Student Frequently Granted, but Not Her Requests as a Teacher
214. During the Spring semester 2020, Diane took actuarial exam preparation courses.

215. During that semester, Diane as a student had to struggle with the access to RU online
homework.

216. That inaccessibility that the effect of making her student efforts much more difficult than
it did for nondisabled students in her class.

217. At that time, Diane requested a reasonable accommodation from Kathleen Mullins,
Director for Student Accommodations.

218. The accommodation was granted so Diane could continue working in the class, as a
student.

219. Asa student, Diane was also given the reasonable accommodation of taking exams for
hours at a time in AUD411 by Nancy Litke, Director of Student Disabilities.

220. Accommodations as a student were granted, but the same person as a staff member, is
having her rights denied by the same organization, RU.

Diane's Other Requests Denied

221. AnRU DEI group composed of RU Administration and Staff invited Diane to their

group.

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222. Numerous people in the group consulted Diane on physical reorganization for students.
223. However, Diane is not getting the needed accommodations she requests, and she feels
misused and emotionally traumatized by RU in this process that repeatedly addresses
accommodations of others without addressing her problems with gaining reasonable
accommodations from RU.

224. The group pays limited attention to diversity among students with neuro-diverse learning
habits; instead it focuses on more obvious diversity categories, such as gender, race, and
orientation, as evidenced in various surveys & questionnaires it created for students.

RU Facility Modifications, Alterations, & Related Scheduling of Courses

225. RU has frequently remodeled and rearranged its classrooms, office spaces, and work
environments for instructors and students as modifications and alterations.

226. RU has a duty to maintain those features of its facilities and equipment that are required
to be readily accessible to and unable by Diane as a person with disabilities under 28 CFR §
36.211(a) Maintenance of accessible features and otherwise.

227. Some of the modifications & alterations to these facility spaces have disadvantaged
Diane as an individual with disabilities.

228. Inspite of RU spending large amounts of money on facility modifications & alterations,
RU still has no Adaptive Space to park a Service Animal near instructors or students so it may be
out of the way, but readily available to perform the tasks they have been trained to perform when
needed, esp. during class.

229. Further, RU has no Adaptive Space that is distraction & noise minimized near instructors

or students with disabilities in class, including Diane, so they may find temporary respite when

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they are severely taxed by their activity, but exhausted from expending energy in teaching or
studying.

230. In fact, the net effect of the RU facility modifications and alterations has been to make it
harder for Diane as a person with disabilities to teach.

231. At all times pertinent, RU has also modified its course schedules for these facilities as
modified & altered, but course schedules and arrangements have been limited by the resulting
physical changes to the facilities and operations.

232. These RU facility modifications & alterations, together with its course schedule changes
and arrangements have had the effect of disadvantaging Diane in the jobs offered and her
potential hiring as an adjunct faculty in positions for each semester’s math courses.

233. These discriminatory administrative methods have the effect of disadvantaging Diane as
an individual with disabilities from teaching math courses as an adjunct faculty member, over her
fellow math teachers without Diane’s relevant substantial limitations in major life activities.
Occupational Segregation & Limitations in Low Level, Non Credit Course Teaching

234. As aresult of Diane’s lack of training in key areas, RU claims it can only offer Diane low

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level courses to teach, even though she has Mehormnineinhne aeseinc others without

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disabilities who are offered higher level courses to teach.
235. By this, RU has denied Diane the opportunity to teach more advanced math courses,

although others without disabilities-orHeradvar ing have been

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provided with these opportunities.
236. All of this has resulted in RU occupationally segregating Diane in low level, high school

credit math courses without much hope of progressing to higher math course jobs.

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237. Said conduct, acts, and omissions, harm Diane as an individual with disabilities in her
RU employment and as an advocate for her disabled students who she helps to gain access to
higher math courses.

Diane’s Request for Accommodations for Fall 2024 were Denied

238. During April of 2024, Diane met with HR, Student Disability Services, and Diane’s
Psychologist.

239. The group discussed environmental concerns and barriers of the building, plus previous
RU concession of proximity between respite area AUD402 and classroom AUD406.

240. This pathway & area provides a non-fluorescent lit and dim, self-containable corridor.
241. Diane asked HR for a meeting with her Math Dept. Chair Melanie Pivarski to discuss
why she is not being allowed to teach Math110 which is taught in AUD406.

242. Ameeting was convened the following day between HR, Math Dept Chair Melanie
Pivarski, Diane’s Occupational Therapist Linda Marshall, Diane’s Social Worker Marianne
Costales-Roman, and Diane.

243. During that meeting, Diane was told AUD406 was a computer classroom and that she
would not be staffed (assigned to teach a class) there.

244. Diane said she wanted to teach Algebra or Statistics (advanced math, credit courses) but
it required a larger room like AUD420.

245. AUD420 is over 100 feet from the respite area that Diane uses in AUD402.

246. Diane asked for AUD406 because it has seating capacity for 30 students, and RU had

staffed Diane in this room for years.

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247. However, RU reconfigured it to only seat 24, knowing, or having reason to know, that
Diane would not be able to use it in its reconfigured form without experiencing great stress, pain,
& discomfort, making it very difficult for Diane to related to students or teach in it.
248. AUD406’s proximity to AUD402 allowed Diane immediate respite in the dimly lit and
quiet 30 foot corridor between AUD406 and AUD402.
249. Diane had told Melanie Pivarski that when sirens outside windows became

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painful, Diane would step into the hallway toward AUD402 for respite.
250. Melanie Pivarski said AUD406 was now unavailable because it is a computer classroom
and only holds 24 students, however, this retort seems non-sensical or retaliatory because the
Statistics class requires use of computers.
251. This lack of reasonable accommodation prevents Diane from using AUD402 for respite
and also for class preparation.
252. Melanie Pivarski seems to believe AUD420’s primary problem is its external noise, but
this is not the primary problem.
253. |AUD420’s distance from appropriate respite is the main issue given the hallway’s
fluorescent lighting, noise, and congestion.
254. Because Diane can’t reasonably use AUD420, Melanie won’t assign Diane a Statistics or
Algebra class to teach.
255. In most of these acts or omissions of disability discrimination against Diane as alleged
above, RU has acted through its HR Department or other agents of RU.

V. CAUSES OF ACTION
COUNTI

DISABILITY DISCRIMINATION
UNDER ADA TITLE I & Ill, 504, & IHRA

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256. The allegations contained in the preceding paragraphs are incorporated by reference here
as if set out here in full.

257. Atall times pertinent, Diane has been an otherwise qualified individual with disabilities
as an RU employee.

258. Atall times pertinent, Diane has been an otherwise qualified individual with disabilities
as an RU student and prospective student & frequent course shopper.

259. At all times pertinent, RU has been aware of Diane’s disabilities.

260. RU has discriminated against Diane as an individual with a disability by certain adverse
actions, including actions or omissions, practices, and/or policies, some of which appear facially
neutral at times.

261. These adverse actions regard things that include, but are not limited to, job application
procedures; hiring; upgrading; rehiring; forms of compensation; making job assignments &
forming job classifications; changing organizational structures; arranging position descriptions,
lines of progression, & seniority lists; providing fringe benefits available by virtue of
employment; selection & financial support for training; and/or other terms, conditions, benefits,
or privileges of employment.

262. These adverse actions also include limiting, segregating, or classify Diane as a job
applicant or employee in a way that adversely affects her employment opportunities or status on
the basis of disability.

263. RU failed to take those steps that may be necessary to ensure that Diane as an individual
with a disability, was not excluded, denied services, segregated or otherwise treated differently
than other individuals because of the absence of auxiliary aids and services and otherwise. 28

CFR § 36.303. Auxiliary aids and services.

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264. RU made repeated alterations to its facility but failed to ensure that, to the maximum
extent feasible, the altered portions of the facility are readily accessible to and usable by
individuals with disabilities, including Diane. 28 CFR § 36.402 Alterations.

265. RU made alterations that affect or could affect the usability of or access to an area of its
facility that contains a primary function, but failed to ensure that, to the maximum extent
feasible, the paths of travel to the altered area, are readily accessible to and usable by individuals
with disabilities, including Diane. 28 CFR § 36.403 Alterations: Path of travel.

266. These adverse actions also include failure to maintain in operable working condition
those features of facilities and equipment that are required to be readily accessible to and usable
by persons with disabilities, including Diane, when it modifies its facilities per 28 CFR §
36.211(a) Maintenance of accessible features, and otherwise.

267. Atall times pertinent, RU has operated and maintained an inaccessible website and
internal email system that requires Diane as an individual with disabilities to use as an employee,
student, and prospective student & course shopper.

268.  Atall times pertinent, RU has limited, segregated, and/or classified Diane as an adjunct
faculty job offer applicant or employee in a way that adversely affects her employment
opportunities or status on the basis of disability.

269. RU has engaged in these adverse actions and omissions with reason to know they would
adversely affect Diane, but has taken them or failed to take them with deliberate indifference,
reckless indifference, or malice.

270. RU has caused these adverse action and omissions, and Diane has been harmed by these

and other discriminatory, adverse acts and omissions by RU.

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271. This harm includes, but is not limited to, emotional distress, pain and suffering, loss of
good reputation, segregation & social isolation from her fellow students & teacher, physical &
psychological injury, and restricted and impaired her educational & future occupational

opportunities and expected earning power, both at RU and otherwise.

COUNT 0
FAILURE TO ACCOMMODATE
UNDER ADA TITLE I & Il, 504, & THRA
272. The allegations contained in the preceding paragraphs are incorporated by reference as if
set out here in full.
273. Diane has requested many reasonable accommodations, especially for auxiliary aids &
services as an employee of RU.
274. Diane has repeated requests for some of the most needed accommodations many times
after they have been denied.
275. Some of these requests were requested to benefit her students with disabilities in order for
them to learn.
276. RU has effectively denied most of Diane’s requests for the most needed reasonable
accommodations, for herself as an employee and for her students as their math teacher and
disability rights advocate.

277. Most RU denials of Diane’s requests for accommodations were made in bad faith without

RU offering any effective, alternative accommodations.

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278. Most of these denials resulted in no effective accommodations for Diane.
279. RU has caused a breakdown of the interactive process on many occasions.
280. On these occasions, said breakdown has prevented RU from identifying appropriate
accommodations for Diane, even when she requested effective accommodations.
281. RU has engaged in the interactive process in bad faith by causing these breakdowns in
the interactive process.
282. When RU has effectively denied Diane’s requests for accommodations as a student or as
an employee, RU has not provided Diane with a contemporaneous, written statement of the
reasons for denial that explained how her request would work an undue hardship on RU or would
be a fundamental alteration of the program at RU.
283. Diane has been harmed by these denials.
284. This harm includes, but is not limited to, emotional distress, pain and suffering, loss of
good reputation, segregation & social isolation from her fellow students & teacher, physical &
psychological injury, and restricted and impaired her educational & future occupational
opportunities and expected earning power, both at RU and otherwise.
COUNT I
DISCRIMINATORY CRITERIA & METHODS OF ADMINISTRATION
UNDER ADA TITLE I & Il, 504, & THRA
285. The allegations contained in the preceding paragraphs are incorporated by reference as if
set out here in full.
286. At all times pertinent, RU has been aware of Diane’s disabilities.
287. RU has discriminated against Diane as an individual with a disability by creating or using

certain discriminatory criteria and methods of administration.

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288. Atall times pertinent, RU has maintained, operated, and scheduled a training system as a
discriminatory method of administration that has proven to be effectively inaccessible to Diane
as an individual with disabilities in her role as an employee.
289. RU has shifted the burdens onto Diane by its discriminatory criteria and methods of
administration regarding, inter alia, its training system, its modification of facilities, and its
requirements to use inaccessible digital communications.
290. RU has engaged in these things with deliberate indifference, reckless indifference, or
malice.
291. RU has caused Diane harm by said actions and omissions regarding these discriminatory
criteria and methods of administration.
292. This harm includes, but is not limited to, emotional distress, pain and suffering, loss of
good reputation, segregation & social isolation from her fellow students & teacher, physical &
psychological injury, and restricted and impaired her educational & future occupational
opportunities and expected earning power, both at RU and otherwise.
COUNT IV
COERCION, INTIMIDATION, HARASSMENT, AND/OR INTERFERENCE
UNDER ADA TITLE I & Hil, 504, & THRA
293. The allegations contained in the preceding paragraphs are incorporated by reference as if
set out here in full.
294. The Defendants knew or had reason to know that at all times pertinent that Diane was an
otherwise qualified employee with disabilities.
295. The Defendants knew or had reason to know that at all times pertinent that Diane was an

otherwise qualified as a continually prospective student with disabilities who occasionally found

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an uncommon RU course that would build on Diane’s developing math skills, improve Diane’s
professional prospects, and fit with her schedule.

296. The Defendants knew or had reason to know that at all times pertinent that Diane was an
open, public advocate for her students with disabilities and for herself as an employee, a student,
and a continually prospective student, and that, by this, she engaged in statutorily protected
activity, or aided or encouraged others in the exercise or enjoyment of ADA protected rights.
297. Attimes, Defendant RU coerced, intimidated, harassed, and/or interfered with Plaintiff
Diane Field in the exercise or enjoyment of her rights granted or protected by the ADA.

298. Said actions and omissions might well deter another reasonable employee or student from
complaining about discrimination, requesting accommodations, or otherwise advocating for
others with disabilities due to their severity and detriment to them.

299. The Defendant RU and its authorized agents were motivated by an intent to discriminate,
whether by deliberate indifference, reckless indifference, or malice.

300. These adverse employment actions and omissions against Diane will continue unless RU
is prevented from continuing them.

301. There is a causal link between the Plaintiff's protected activity and the materially adverse
actions or omissions.

302. Sometimes this causal link is made apparent by the closeness in time of the advocacy
actions and omissions, and the harmful responses by others.

303. At other times, the causal link is apparent from the conduct or expressions showing

deliberate indifference, reckless indifference, or malice. See future Exhibit.

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304. These acts and omissions are unlawful acts that constitute a widespread pattern or
practice of coercion, intimidation, harassment, and/or interference that has caused and continue
to cause harm to the Plaintiff.
305. This harm includes, but is not limited to, emotional distress, pain and suffering, loss of
good reputation, segregation & social isolation from her fellow students & teacher, physical &
psychological injury, and restricted and impaired her educational & future occupational
opportunities and expected earning power, both at RU and otherwise.
COUNT V
RETALIATION
UNDER ADA TITLE I & Il, 504, & THRA
306. The Defendant RU or its agents have retaliated against Diane on account of her protected
activity by acting or failing to act, in a materially adverse manner.
307. RU has engaged in these adverse actions with deliberate indifference, reckless
indifference, or malice.
308. There is a causal link between the Plaintiffs protected activity and the materially adverse
actions or omissions; sometimes this is made apparent by the closeness in time of the advocacy
actions and the harmful responses by others.
309. At other times, the causal link is apparent from the expressions of deliberate indifference,
reckless indifference, or malice. See future Exhibit.
310. Plaintiff Diane Field has been harmed by these acts & omissions.
311. This continuing harm to the Plaintiff includes emotional distress, pain and suffering, loss
of good reputation, segregation & social isolation from her fellow students & teacher, physical &
psychological injury, and these acts have restricted and impaired her educational & future

occupational opportunities and expected earning power, both at RU and otherwise.

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COUNT VI
RAFO AIDED & ABETTED DISCRIMINATION
UNDER ADA TITLE I & Hl, 504, & THRA
312. The allegations contained in the preceding paragraphs are incorporated by reference as if
set out here in full.
313. At times, RU and its agents solicited the help of RAFO in discriminating or in performing
acts & omissions that had the effect of discriminating against the Plaintiff Diane Field.
314. At some of these times, RAFO or its agents, aided and abetted RU in its acts and
omissions that discriminated or had the effect of discriminating against Plaintiff Diane Field.
315. RAFO harmed Diane as a direct result of this cooperation with RU to discriminate
against Plaintiff Diane Field due to her disability.
316. RAFO has engaged in this aiding & abetting with deliberate indifference, reckless
indifference, or malice.
317. Plaintiff Diane Field has been harmed by these acts & omissions.
318. This continuing harm to the Plaintiff includes emotional distress, pain and suffering, loss
of good reputation, segregation & social isolation from her fellow students & teacher, physical &
psychological injury, and these acts have restricted and impaired her educational & future
occupational opportunities and expected earning power, both at RU and otherwise.
319. Diane has been harmed by RAFO’s aiding & abetting RU’s discriminatory actions and
omissions.
V. PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests judgment as follows:

FINDINGS

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(1) Find and Declare in favor of the PLAINTIFF DIANE FIELD in full on each count in her
Complaint.
(2) Find and Declare that DEFENDANT ROOSEVELT UNIVERSITY has discriminated and
continues to discriminate against the PLAINTIFF DIANE FIELD due to her disability by actions
and omissions:

a.) That have the effect of discriminating against her, or of denying her the benefits and
opportunities enjoyed by others without disabilities;

b.) That deny her reasonable accommodations;

c.) That create and/or maintain discriminatory criteria & methods of administration;

d.) That interfere with her exercise of federal & state disability rights;

e.) That retaliate against her for her disability rights advocacy for herself and her disabled

students; and

f.) That solicit others to aid and abet it in said actions and omissions of discrimination

against her.
(3) Find & Declare that DEFENDANT ROOSEVELT ADJUNCT FACULTY ORGANIZATION
has discriminated & continues to discriminate against the PLAINTIFF DIANE FIELD due to her
disability by actions and omissions that aid & abet DEFENDANT ROOSEVELT UNIVERSITY
in said acting or failing to act.
(4) Declare that DEFENDANT ROOSEVELT UNIVERSITY and its HR Department interfered
with DEFENDANT ROOSEVELT ADJUNCT FACULTY ORGANIZATION in providing
disability advocacy for Plaintiff despite knowing that PLAINTIFF DIANE FIELD at all times
pertinent has been a dues paying union member in good standing and did request union

assistance.

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(5) Declare that DEFENDANT ROOSEVELT ADJUNCT FACULTY ORGANIZATION denied
PLAINTIFF DIANE FIELD her rights and discriminated against her due to her disabilities when
it cancelled meeting(s) and otherwise regarding her disability with PLAINTIFF DIANE FIELD
and Plaintiffs Department Chair at the request and direction of DEFENDANT ROOSEVELT
UNIVERSITY through its HR Department.

(6) Declare that DEFENDANTS ROOSEVELT ADJUNCT FACULTY ORGANIZATION, and

42.
ROOSEVELT UNIVERSITY through its HR Department, violated\USC 12112(b)(2) by

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"participating in a contractual or other arrangement or relationship that had the effect of
subjugating" PLAINTIFF DIANE FIELD, “a qualified employee with a disability to the
discrimination prohibited by this sub-chapter (such relationship includes a relationship with a ...
labor union)."
(7) Order DEFENDANTS ROOSEVELT UNIVERSITY & its HR Department and
ROOSEVELT ADJUNCT FACULTY ORGANIZATION to publicly apologize to Plaintiff for
violating her rights under the Americans with Disabilities Act, and Order it also to publicly
apologize for denying her fair union representation that she requested as to her disability rights;
(8) Order DEFENDANTS ROOSEVELT UNIVERSITY & ROOSEVELT ADJUNCT
FACULTY ORGANIZATION to restore a respectful, nondiscriminatory representative
relationship of the Union toward Plaintiff without employer disability discrimination,
interference, or unlawful involvement in union activities.
(9) Enter a temporary, preliminary, permanent injunction, and/or restraining order, and/or other
Order requiring:

(a) DEFENDANT ROOSEVELT UNIVERSITY to cease disability discrimination going

forward against PLAINTIFF DIANE FIELD and its other disabled staff/students;

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(b) DEFENDANT ROOSEVELT ADJUNCT FACULTY ORGANIZATION to engage in
staff, steward, & leadership training on the ADA in order to represent union members with
disabilities faithfully and fully in requesting reasonable accommodations for employment when
union assistance is requested by its disabled members;

(c) DEFENDANT ROOSEVELT UNIVERSITY to engage in annual ADA staff training
and appoint a full time ADA Coordinator with certification from a reputable ADA coordinator
certification program;

(d) DEFENDANT ROOSEVELT UNIVERSITY to engage in the interactive process
regarding accomodations for Fall 2024 employment and beyond for PLAINTIFF DIANE
FIELD;

(e) DEFENDANT ROOSEVELT UNIVERSITY to staff its departments appropriately so
they can address requests for accommodation instead of illegally stopping/deferring the
accommodations process due to a lack of staff required to handle said requests legally &
properly;

(f) DEFENDANT ROOSEVELT UNIVERSITY to alter its website & email systems to
become fully ADA compliant in accordance with the evolving United States Access Board
recommended standards & U.S. Department of Justice regulations & guidance.

(g) DEFENDANT ROOSEVELT UNIVERSITY to provide safe, optical "sleeves" on
fluorescent lighting for students and staff unable to visually adjust to the demands of fluorescent
lighting otherwise;.

(h) DEFENDANT ROOSEVELT UNIVERSITY to provide appropriate signage in high
traffic areas within its buildings for staff/students with disabilities, esp. those with specialized

visual and/or auditory needs, including PLAINTIFF DIANE FIELD.

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(10) Award compensatory damages, to the extent allowed under law, to PLAINTIFF DIANE
FIELD from DEFENDANTS ROOSEVELT UNIVERSITY & ROOSEVELT ADJUNCT
FACULTY ORGANIZATION, according to the violations of law and the harm each caused,
including, but not limited to:

(a) Lost wages and front pay;

(b) Compensation for PLAINTIFF DIANE FIELD'S past & continuing therapy and
treatment (Occupational Therapy, Vision Doctor, etc.) and for her time spent requesting,
bargaining for, adapting, and/or managing all reasonable accommodations she requested,
including those proving to be unacceptable, inappropriate, and/or revoked, plus mileage at IRS
rates;

(c) Compensation for time PLAINTIFF DIANE FIELD spent reviewing rights, and
drafting & filing documents required by the EEOC and this Court Complaint.

(11) Award punitive damages, to the extent allowed under law, to the Plaintiff from each
Defendant according to violations of law, degree of reckless indifference or malice, and other
discriminatory action or omission by each Defendant.

(12) Award PLAINTIFF DIANE FIELD reimbursement for costs, including reasonable attorneys'
fees, incurred in connection with the underlying EEOC proceedings and with this federal court
action in an amount as determined in the discretion of this Court when such claim(s) are ripe.

(13) And, for such other and further relief as the Court deems just and proper.
Date 5[2alay 24 W

Nan su soit Pro Se,

Duns FIELD
s/ Diane Field

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